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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                                                          PLAINTIFF

v.                                No. 4:11CR00290-06 JLH

JARED GREENE                                                                    DEFENDANT

                                          ORDER

       Defendant’s motion for extension of time to file objections to the presentence report is

GRANTED. Document #350. The deadline for defendant to file objections is extended up to and

including September 27, 2012.

       IT IS SO ORDERED this 24th day of September, 2012.




                                                  J. LEON HOLMES
                                                  UNITED STATES DISTRICT JUDGE
